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 3   Telephone: (559) 352-2331
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 4

 5   Attorney for Defendant Rosanna Isabel Carrisosa

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 8
                                       UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11
       UNITED STATES OF AMERICA,                       No. 1:14-CR-00072-JLT-SKO
12
                          Plaintiff,
13                                                  MOTION TO TERMINATE CJA
              v.                                    APPOINTMENT OF MELISSA BALOIAN AS
14                                                  ATTORNEY OF RECORD AND ORDER
       ROSANNA ISABEL CARRISOSA,
15
                          Defendant.
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19           On December 13, 2021, CJA Panel Attorney Melissa Baloian was appointed as counsel to

20   represent Ms. Rosanna Carrisosa in 1:14-CR-00072. Ms. Carrisosa sought to terminate her

21   supervised release. Ms. Carrisosa’s matter has been concluded, and on April 20, 2023, the Court

22   ordered Ms. Carrisosa’s supervised release be terminated. Having completed her representation of

23   Ms. Carrisosa, CJA attorney Melissa Baloian now moves to terminate her appointment under the

24   Criminal Justice Act.

25           Should Ms. Carrisosa require further legal assistance she has been advised to contact the

26   Office of the Federal Defender for the Eastern District of California by mail at 2300 Tulare Street,

27   Suite 330, Fresno, CA 93721, or by phone at (559) 487-5561 (collect) or (855) 656-4360 (toll-

28   free), which, if appropriate, will arrange for the re-appointment of counsel to assist her.
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 1   Dated: May 17, 2023                                   Respectfully submitted,

 2

 3                                                         /s/Melissa B. Baloian
                                                           Melissa B. Baloian,
 4                                                         Attorney for Defendant, Rosanna Carrisosa
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 6
                                                   ORDER
 7

 8          Having reviewed the notice and found that attorney Melissa Baloian has completed the

 9   services for which she was appointed, the Court hereby grants attorney Melissa Baloian’s request

10   for leave to withdraw as defense counsel in this matter. Should Defendant seek further legal

11   assistance, Defendant is advised to contact the Office of the Federal Defender for the Eastern

12   District of California at 2300 Tulare Street, Suite 330, Fresno, CA 93721. The phone number for

13   the office is (559) 487-5561 (collect) or (855) 656-4360 (toll-free). If appropriate, the office will

14   arrange for the reappointment of counsel to assist Defendant.

15          The Clerk of Court is directed to serve a copy of this order on Defendant Rosana

16   Carrisosa at the following address and to update the docket to reflect Defendant’s pro se status

17   and contact information.

18
     Rosanna Carrisosa
19   27428 Georgia Avenue, Apt. A
20   Madera, CA 93637

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22   IT IS SO ORDERED.

23      Dated:     May 17, 2023
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